                          CASE 0:13-cv-00072-SRN-TNL Document 256 Filed 01/29/15 Page 1 of 1
OAO450 (Rev 5/85) Judgment in a Civil Case



                                         UNITED STATES DISTRICT COURT
                                                District of Minnesota

J&M Distributing,

                           Plaintiff,                        JUDGMENT IN A CIVIL CASE

    V.
                                                                    Case Number: 13-CV-00072 SRN/TNL
Hearth & Home Technologies, et al.,

                           Defendants.



X Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
  has rendered its verdict.

      Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
      heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED THAT:

       Judgment is entered in favor of defendants. Plaintiff shall recover $0 from defendants.


 January 23, 2015                                                     RICHARD D. SLETTEN, CLERK
Date
                                                                              s/Susan Del Monte
                                                             (By)             Susan Del Monte,    Deputy Clerk



s/Susan Richard Nelson
SUSAN RICHARD NELSON
United States District Judge




Form Modified: 09/16/04
